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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :
                                           :
           v.                              :    CRIMINAL NO. 09-567-1
                                           :
                                           :
DERICK ANTONIO TAYLOR                      :




                             ENTRY OF APPEARANCE


    I hereby enter my appearance on behalf of the petitioner in the above-captioned matter.




                                         Respectfully submitted,


                                         /s/ Arianna J. Freeman___
                                         ARIANNA J. FREEMAN
                                         Managing Attorney, Non-Capital Habeas Unit
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                                CERTIFICATE OF SERVICE


       I, Arianna J. Freeman, Managing Attorney, Non-Capital Habeas Unit, Federal

Community Defender Office for the Eastern District of Pennsylvania, hereby certify that I caused

a copy of Entry of Appearance on behalf of Petitioner to be served upon Robert A. Zauzmer,

Assistant United States Attorney, via this Court’s electronic filing system.


                                              /s/ Arianna J. Freeman___
                                              ARIANNA J. FREEMAN
                                              Managing Attorney, Non-Capital Habeas Unit
DATE: September 4, 2018
